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 2
                                   UNITED STATES DISTRICT COURT
 3
                                           DISTRICT OF NEVADA
 4
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 5
      Stephanie Gordon,                                       Case No. 2:18-cv-00838-JAD-BNW
 6
                              Plaintiff,
 7                                                            ORDER
            v.
 8
      State of Nevada Department of Business and
 9    Industry, et al.,
10                            Defendants.
11

12           The United States Postal Service was unable to deliver a recent filing of this Court to

13   Plaintiff. (See ECF No. 7.) Thus, it appears that plaintiff is no longer at the address on file with

14   the court. Under Local Rule IA 3-1,

15           An attorney or pro se party must immediately file with the court written
             notification of any change of mailing address, email address, telephone number, or
16
             facsimile number. The notification must include proof of service on each
17           opposing party or the party’s attorney. Failure to comply with this rule may result
             in the dismissal of the action, entry of default judgment, or other sanctions as
18           deemed appropriate by the court.
19   Plaintiff must file a notice with her current address by January 18, 2021. Failure to comply with
20   this order will result in an additional recommendation to the district judge that this case be
21   dismissed.1
22           IT IS SO ORDERED.
23           DATED: December 29, 2020.
24
                                                             BRENDA WEKSLER
25                                                           UNITED STATES MAGISTRATE JUDGE
26
             1
27            This Court has already recommended to the district judge that this matter be dismissed without
     prejudice because of plaintiff’s failure to file an amended complaint within the Court’s deadline. ECF No.
28   6. That recommendation remains pending before the district judge.
